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       Attorneys for David M. Reaves,
9           Chapter 7 Trustee
10
                        IN THE UNITED STATES BANKRUPTCY COURT
11
                                FOR THE DISTRICT OF ARIZONA
12
       In Re:                                          )   Case No.: 2:21-bk-05407-MCW
13                                                     )
       CHARLES MICHAEL COLBURN,                        )   Chapter 7
14                                                     )
                                                       )   TRUSTEE’S MOTION FOR
15                                Debtor.              )   TURNOVER OF ESTATE
                                                       )   PROPERTY PURSUANT TO 11
16                                                     )   U.S.C. § 542 (THE BURGESS LAW
                                                       )   GROUP)
17                                                     )
                                                       )
18                                                     )
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19                                                     )
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            David M. Reaves (“Trustee”), duly appointed Chapter 7 Trustee for the bankruptcy
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      estate of debtor Charles Michael Colburn (the “Debtor”), respectfully requests an order of
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      this Court pursuant to 11 U.S.C. § 542 compelling The Burgess Law Group (“BLG”) to
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      turnover property of this bankruptcy estate to the Trustee. BLG is in possession of the sum
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      of $20,000.00, paid post-petition as a retainer by the Debtor from estate property. While
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      the funds were paid by the Debtor to BLG through an entity by the name of VDEC
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1     Manufacturing, LLC (“VDEC”), the funds were placed into the VDEC bank account pre-
2     petition by the Debtor and from the Debtor’s personal bank account at Navy Federal Credit
3     Union. The funds constitute property of this bankruptcy estate and must be turned over to
4     the Trustee.
5            Trustee’s Motion is as follows:
6            1.      On July 13, 2021, the Debtor filed a Voluntary Chapter 13 bankruptcy
7     petition. On August 6, 2021, this case was converted to a case under Chapter 7 of the
8     Bankruptcy Code, and Trustee was appointed as Chapter 7 trustee.
9            2.      VDEC was formed on or about October 5, 2017, as an Arizona limited
10    liability company, with the Debtor being a member and manager. A true and correct copy
11    of the VDEC Articles of Organization filed with the Arizona Corporation Commission is
12    attached as Exhibit “A.”
13           3.      Thereafter, on or about May 1, 2018, the Debtor opened a bank account at
14    BMO Harris Bank, N.A. (“BMO”), in the name of VDEC (the “VDEC Bank Account”).
15    The Debtor was originally one of two signatories on the VDEC Bank Account, along with
16    a Stephen M. Vigueria. On or about November 14, 2018, Stephen M. Vigueria was
17    removed as a signatory on the account, and from and after that date, the Debtor was and
18    has been the sole signatory on the VDEC Bank Account. A true and correct copy of the
19    VDEC Bank Account signature cards dated May 1, 2018, and November 14, 2018, are
20    attached as Exhibit “B.”
21           4.      Prior to the filing of the petition, the Debtor was involved in litigation with
22    MedMen Enterprises, Inc. (“MedMen”) in the Maricopa County Superior Court, Case No.
23    CV2020-006195 (“State Court Action”).
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1            5.      On March 11, 2021, judgement was entered in the State Court Action in
2     MedMen’s favor in the minimum amount of $10,384,288.00, representing surplus proceeds
3     from the sale of MedMen’s property (“Judgment”), among other things.
4            6.      On April 23, 2022, the Debtor deposited a check in the sum of $132,000.00
5     from his personal account at Navy Federal Credit Union, into an account at BMO Harris
6     Bank, N.A., held in the name of VDEC (the “VDEC Bank Account”). True and correct
7     copies of the VDEC Bank Account statements for April, May, June, July and August of
8     2021 are attached as Exhibit “C”; a true and correct copy of the deposit transaction sheet,
9     with a copy of the $132,000.00 check from Navy Federal Credit Union, is attached as
10    Exhibit “D.”
11           7.      Immediately prior to the filing of the petition herein, on July 2, 2021, Articles
12    of Termination were filed on behalf of VDEC. A true and correct copy of the VDEC
13    Articles of Termination filed with the Arizona Corporation Commission is attached as
14    Exhibit “E.”      Those Articles of Termination state as follows:              “SIGNATURE
15    CONCERNING PROPERTY AND ASSETS—by the signature appearing below, the
16    limited liability company named above affirms or certifies under penalty of perjury that all
17    of its known properties and assets have been applied and distributed pursuant to chapter 7,
18    title 29 of the Arizona Revised Statutes.”
19           8.      At the time of filing of the VDEC Articles of Termination on July 2, 2022,
20    the VDEC Bank Account held $114,378.36. See Exhibit “C.” After July 2, 2022, the
21    Debtor continuing to use the VDEC Bank Account for his own personal purposes and
22    expenses. See Exhibit “C.”
23           9.      As of the filing of the petition and conversion of this case to Chapter 13 on
24    August 6, 2022, the Debtor held funds in the sum of $76,830.36 in the VDEC Bank
25    Account. See Exhibit “C.”

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1              10.   On August 20, 2021, the Debtor paid BLG the sum of $20,000.00 from the
2     VDEC Bank Account. A true and correct copy of the VDEC check, signed by the Debtor
3     and payable to BLG, is attached as Exhibit “F.”
4              11.   11 U.S.C. § 541(a) provides that all legal or equitable interests in property of
5     the debtor as of the commencement of the case becomes property of the bankruptcy estate,
6     including all community property of the debtor and debtor’s spouse that is under the sole,
7     equal or joint management of the debtor, or that is liable for a claim against the debtor or
8     for a claim against the debtor and debtor’s spouse, among other things.
9              12.   Section 521(a)(3) requires the debtor to cooperate with the trustee as
10    necessary to enable the trustee to perform the trustee’s duties.
11             13.   Section 521(a)(4) requires the debtor to surrender to the trustee all property
12    of the estate and any recorded information, including books, documents, records and
13    papers, relating to property of the estate.
14             14.   Section 542(a) requires any entity in the possession, custody or control of
15    estate property to deliver that property to the trustee, among other things.
16             15.   From the above, the funds held in the VDEC account as of the date of filing
17    are funds directly traceable to the Debtor’s personal bank account at Navy Federal Credit
18    Union.
19             16.   The Debtor is the sole signatory on the VDEC Bank Account and thus
20    controls all funds in and out of that account.
21             17.   Those funds held in the VDEC Bank Account as of the filing of the petition
22    and the date of conversion to Chapter 7 constitute property of this bankruptcy estate
23    pursuant to Section 541. The Debtor has failed and refused to comply with Section
24    521(a)(3) and (4), by failing to turn over the funds held in the VDEC account to the Trustee.
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1           18.    Rather than turning over the VDEC funds of $76,830.36 to Trustee as
2     required, the Debtor continued to use those funds for his own purposes, including payment
3     of the sum of $20,000.00 to BLG.
4           19.    The funds paid to BLG from the VDEC Bank Account constitute property of
5     this estate. Trustee has requested that BLG hold these funds, and upon information and
6     belief, BLG is in fact still holding those funds. Pursuant to Section 542(a), those funds
7     must be turned over to Trustee.
8           WHEREFORE, Trustee respectfully requests an order of this Court pursuant to 11
9     U.S.C. § 542(a), requiring BLG to turn over the funds in the sum of $20,000.00 received
10    from VDEC to Trustee, on behalf of this estate.
11          Dated this 12th day of August, 2022.

12                                             REAVES LAW GROUP

13                                             By: /s/ David M. Reaves (SBN 011677)
                                                    David M. Reaves
14                                                  Misty W. Weigle
                                                    Attorneys for Chapter 7 Trustee
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1     COPY of the foregoing SERVED this
      12th day of August, 2022, to:
2

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      Elizabeth Amorosi
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18    /s/ Kathleen Arnold
19

20
                      CERTIFICATE OF SERVICE VIA CM/ECF SYSTEM
21
              In addition to the above, I hereby certify that on August 12, 2022, I electronically
22
       transmitted the attached document to the Clerk’s Office using the CM/ECF system for
23     filing and transmittal of a Notice of Electronic Filing to all CM/ECF registrants listed for
       this matter.
24
       /s/ Kathleen Arnold
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